    Case 4:18-cv-01807 Document 110 Filed on 03/11/20 in TXSD Page 1 of 10




                                             THE HONORABLE JUDGE GEORGE C. HANKS, JR.




                         UNITED STATES DISTRICT COURT FOR THE
                   SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION
 Heirs of Khalid Abu Al-Waleed Al-Hood §
 Al-Qarqani Waleed Khalid Abu Al-Waleed Al- §
 Hood Al-Qarqani; Ahmed Khalid Abu Al-Waleed            §
 Al Hood Al-Qarqani; Shaha Khalid Abu Al-Waleed §         Civil Action No. 4:18-cv-1807
 Al Hood Al-Qarqani; Naoum Al-Doha Khalid Abu §
 Al-Waleed Al Hood Al-Qarqani; and Nisreen §
 Mustafa Jawad Zikri,                                   §
                                         Petitioners,   §
                           v.                           §
                                                        §
 SAUDI ARABIAN OIL COMPANY (aka, Saudi §
 Aramco, Arabian-American Oil Company, ARAMCO), §
 a foreign based corporation, located in Dhahran, Saudi §
 Arabia and all its predecessor, successor and related §
 entities,                                              §
                                         Respondents §
TO: The U.S. District Court for the Southern District of Texas; and
TO: White & Case, LLP, Attorneys for Respondent, Saudi Arabian Oil Company (Saudi Aramco)

          DECLARATION OF SERVICE OF PETITIONERS/AWARD CREDITORS’
    SECOND AMENDED PETITION FOR ENFORCEMENT OF FOREIGN ARBITRAL AWARD



                                                   CHUNG, MALHAS & MANTEL, PLLC
                                                   Edward C. Chung, Esq. – (L.R. 11-Attorney-in-Charge)
                                                   Dr. Dima N. Malhas, Esq.
                                                   Mark Mantel, Esq.
                                                   1037 NE 65th Street, Suite# 80171
                                                   Seattle, Washington 98115
                                                   Phone: (206) 264-8999
                                                   Facsimile: (206) 264-9098

                                                   Counsels for Petitioner
          Case 4:18-cv-01807 Document 110 Filed on 03/11/20 in TXSD Page 2 of 10


                                                TABLE OF CONTENTS
         I.        INTRODUCTION………………………………………………………….………………..1

         II.       SERVICE IN ACCORD WITH NEW YORK CONVENTION.……………………………1

         III.      SERVICE UPON TEXAS & DELAWARE SECRETARY OF STATE ……………..…….2

         IV.       SERVICE UPON SAUDI ARAMCO’S U.S. AGENT OF SERVICE…………………………3

         V.        SERVICE UPON SAUDI ARAMCO’S U.S. SUBSDIARIES………………………….…..3

         VI.       SERVICE UPON SAUDI ARAMCO AND ACKNOWLEDGED RECEIPT …………..…4

         VII.      SERVICE UPON SAUDI ARAMCO’S CORPORATE EXECUTIVES AND
                   CORPORATE LEGAL COUNSEL……………………………………………………………..4

         VIII.     SERVICE UPON SAUDI ARAMCO’S U.S. & FOREIGN ATTORNEYS………………..4

         IX.       SERVICE UPON FOREIGN MINISTRIES……………………………………………..….5

         X.        CONCLUSION…………………………………………………………………………..….5

                                                    EXHIBIT LIST
Exhibit 1: Affidavit of Service Upon Texas Secretary of State
Exhibit 2: Affidavit of Service Upon Delaware Secretary of State
Exhibit 3: Affidavit of Service Upon Aramco Services Company
Exhibit 4: Affidavit of Service Upon Aramco Affiliated Services Company & U.S. Foreign Agent Registration
Exhibit 5: Affidavit of Service Upon Saudi Aramco by Federal Express & Acknowledged Receipt
Exhibit 6: Saudi Aramco's Executive Officer Emails Contained in Prospectus of Initial Public Offering
Exhibit 7: Affidavit of Service to Saudi Aramco CEO & General Counsel & Acknowledged Receipt
Exhibit 8: White & Case, LLP’s December 11, 2019 Press Release Regarding Representation of Saudi Aramco
Exhibit 9: Affidavit of Service Upon White & Case, LLP & Evidence Showing Evasion of Service
Exhibit 10: Affidavit of Email Service Upon White & Case, LLP
Exhibit 11: King & Spalding, LLP’s U.S. Foreign Agent Registration for Saudi Arabia’s Ministry of Energy
Exhibit 12: Affidavit of Service Upon King & Spalding and Acknowledged Receipt
Exhibit 13: Affidavit of Service Upon Bobby Horton and Acknowledged Receipt
Exhibit 14: Rejected Service by Saudi Arabia’s Ministry of Foreign Affairs
Exhibit 15: Rejected Service by Saudi Arabia’s Ministry of Energy, Industry and Mineral Resources
*Note:        See, Dck# 108 for Statutory Notice of Filing of Petition for Enforcement of a Foreign Arbitral Award.


                     DECLARATION OF SERVICE OF PETITIONERS/AWARD CREDITORS’ SECOND AMENDED PETITION FOR
                                          ENFORCEMENT OF FOREIGN ARBITRAL AWARD
                                                    CASE NO. 4:18-cv-1807-GCH
                                                       - TABLE OF CONTENTS -
    Case 4:18-cv-01807 Document 110 Filed on 03/11/20 in TXSD Page 3 of 10


                                  TABLE OF AUTHORITIES
                                          CASE LAW
Huawei Technologies USA, Inc. v. Oliveira, 4:19-cv-00229 (E.D. Tex. July 19, 2019)………….5
Johnson v. Drake, 3:16-CV-1993-L N.D. Tex. 2017…………………………………………..….1
Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306 (1950)…………………………….6
RPost Holdings, Inc. v. Kagan, No. 2:11-cv-238-JRG, 2012 WL 194388,
(E.D. Tex. January 23, 2012)………………………………………………………………………5
Volkswagen Aktiengesellschaft v. Schlunk, 486 US 694 (1988)……………………………………3
                                         STATUTORY LAW
 Delaware Corporations Law
 8 Del. C. § 252……………………………………………………………………….……….…2
 8 Del. C. § 383………………………………………………………………………………..…2
 Texas Civil Practice and Remedies Code
 Tex. Civ. Prac. & Rem. Code, § 17.044(b)……………………………………………………..2
 Texas Business Organizations Code
 Tex. Bus. Orgs. Code Ann. §§ 5.201-202………………………………………………………2
 Tex. Bus. Orgs. Code Ann. § 5.251………………………………………………………...….2
 Tex. Bus. Orgs. Code Ann. § 5.252……………………………………………………………2
 Federal Arbitration Act
 9 U.S.C. §6………………………………………..……………………………...……………...1
 9 U.S.C. §201…………………………………………………………………………………....2
 Foreign Sovereign Immunities Act
 28 U.S.C. § 1608……...…………………………………………………………………………6
 New York Convention on Recognition and Enforcement on Foreign Arbitral Awards
 United Nations Convention on the Recognition and Enforcement of Foreign Arbitral Awards
 June 10, 1958, 21 U.S.T. 2517, 330 U.N.T.S. 38………………………………………...…..… 1
                                           COURT RULES
FED. RUL. OF PROC. 5…………………………………………………………………..…….…....1
FED. RUL. PROC. 4…………………………………………………………………………………6
FED. RUL. CIV. PROC. 81(a)(6)(B)……………………………………..……………..……………1
         UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF TEXAS
          LOCAL RULES ON ECR SERVICE IN ACCORD WITH FED. RUL. OF PROC. 5
United States District Court, for the Southern District of Texas’ Administrative Procedures for
Electronic Filing in Civil and Criminal Cases……………………………………………………………….1

         DECLARATION OF SERVICE OF PETITIONERS/AWARD CREDITORS’ SECOND AMENDED PETITION FOR
                              ENFORCEMENT OF FOREIGN ARBITRAL AWARD
                                        CASE NO. 4:18-cv-1807-GSH
                                           Table of Authorities
       Case 4:18-cv-01807 Document 110 Filed on 03/11/20 in TXSD Page 4 of 10




                                       I. INTRODUCTION

I, EDWARD C. CHUNG, declare as follows:
1. 1     I am the attorney of record for the above captioned Petitioners, I am over the age of 18, not
         a party to this action and respectfully submit this declaration regarding service of
         Petitioners/Award Creditors’ Second Amended Petition for Enforcement of Foreign
         Arbitral Award upon Respondent, Saudi Arabian Oil Company (“Saudi Aramco”),
         a foreign corporation located in the Kingdom of Saudi Arabia1.

1.2      Per this Court’s December 27, 2019 Court Order [Dck# 96], Petitioners have been provided
         until February 21, 2020 to effectuate service of Petitioners/Award Creditors’ Second
         Amended Petition for Enforcement of Foreign Arbitral Award upon Saudi Aramco.
         Pursuant to the New York Convention Treaty on the Recognition and Enforcement of
         Foreign Arbitral Awards (“New York Convention Treaty”), as implemented by the United
         Stated Federal Arbitration Act (“FAA”), 9 U.S.C. § 201; et. seq., Petitioners hereby give
         notice to the Court and Saudi Aramco that Petitioners have successfully served Saudi
         Aramco’s Petitioners/Award Creditors’ Second Amended Petition for Enforcement of
         Foreign Arbitral Award. Service upon Saudi Aramco has been effectuated as follows:
                 II.   SERVICE IN ACCORD WITH NEW YORK CONVENTION

2.1      Pursuant to 9 U.S.C. § 6 of the FAA, Petitions to Confirm and Enforce a Foreign Arbitral
         Award shall be made and heard in the manner of motions. See also, FRCP 81(a)(6)(B)
         which limits the applicability of the Federal Rules of Civil Procedure in relation to service
         of arbitral awards under FAA and the New York Convention Treaty.

2.2      Petitioners initiated this proceeding by filing a Petition for Enforcement of a Foreign
         Arbitral Award under the New York Convention. See, [Dck#1]. As previously briefed in
         Petitioners Response to Order to Show Cause [Dck#50], service of a summons and
         complaint in a civil action is inapplicable to a petition for recognition and enforcement of
         a foreign arbitral award under the New York Convention. See, Johnson v. Drake, 3:16-CV-
         1993-L N.D. Tex. 2017.

2.3      On December 19, 2019, Saudi Aramco’s counsel of record, Michael Rodgers, made a
         general Notice of Appearance on behalf of Saudi Aramco, as well as Attorney-in-Charge,
         Ms. Carolyn Lamm; both attorneys are registered with the Texas Court’s Electronic Filing
         System (CM/ECF). Pursuant to this Court’s Administrative Procedures for Electronic
         Filing in Civil and Criminal Cases registration, a Filing User consents to electronic service
         of all documents in accordance with Fed. Rul. Proc. 5.


1
    For purposes of addressing service herein, it is important to note that the Kingdom of Saudi
    Arabia is not a signatory or member to the Hague Convention on the Service Abroad of
    Judicial and Extrajudicial Documents in Civil or Commercial Matters (“Hague
    Convention”) 15, 1965, 20 U.S.T. 361, T.I.A.S. No. 6638, 658 U.N.T.S. 163(entered into force
    for the United States Feb. 10, 1969).

           DECLARATION OF SERVICE OF PETITIONERS/AWARD CREDITORS’ SECOND AMENDED PETITION FOR
                                ENFORCEMENT OF FOREIGN ARBITRAL AWARD
                                          CASE NO. 4:18-cv-1807-GSH
                                                 Page 1 of 6
      Case 4:18-cv-01807 Document 110 Filed on 03/11/20 in TXSD Page 5 of 10




2.4     On February 21, 2020, I declare under penalty under the laws of the United States of
        America, that in accordance with 9 U.S.C. § 6, I filed with the United States District Court
        Clerk’s Office for the Southern District of Texas (Houston) the following documents: (1)
        Petitioners/Award Creditors’ Second Amended Petition for Enforcement of Foreign
        Arbitral Award with supporting exhibits (Exhibits A, B and C); (2) Declaration of
        Attorney; and Statutory Notice of Filing of Petition for Enforcement of a Foreign
        Arbitral Award. See, [Dck# 108]. Service of this motion was made by using this Court’s
        Electronic Filing System (CM/ECF) which in accordance with FED. RUL. PROC. 5 (b) 1
        electronically provides notice of the motion on Saudi Aramco’s counsel of records.


            III. SERVICE UPON TEXAS & DELAWARE SECRETARY OF STATE
3.1     Service upon Texas Secretary of State: Attached hereto as Exhibit 1 and incorporated
        herein by reference is the affidavit of service of Petitioners/Award Creditors’ Second
        Amended Petition for Enforcement of Foreign Arbitral Award upon the Texas Secretary of
        State and Texas Secretary of State’s Statement of Service. Under the Texas Business
        Organizations Code, corporations have a duty to maintain a registered agent on whom may
        be served any process, notice or demand required or permitted by law to be served on an
        entity. Tex. Bus. Orgs. Code Ann. §§ 5.201-202. If a foreign filing entity transacts business
        without being registered as required by Chapter 9 of the code, the Texas Secretary of State
        serves as the agent for service of process. Id. at § 5.251. After service in compliance with
        § 5.252, the secretary of state immediately sends one of the copies of the process, notice or
        demand to the named entity by certified mail, return receipt requested; this was done here.
        Because the Texas Secretary of State is an agent for service of process on a nonresident
        who engages in business in this state, but does not maintain a regular place of business in
        Texas or a designated agent for service of process, in any proceeding that arises out of the
        business done in Texas and to which the nonresident is a party. See, Tex. Civ. Prac. & Rem.
        Code, § 17.044(b). Because the Texas Secretary of State is an agent for service of process,
        service was effectuated when copies of the process, notice or demand, along with the
        applicable fees, were delivered to the secretary of state.

3.2     Service upon Delaware Secretary of State: Attached hereto as Exhibit 2 and incorporated
        herein by reference is the affidavit of service of Petitioners/Award Creditors’ Second
        Amended Petition for Enforcement of Foreign Arbitral Award upon the Delaware
        Secretary of State and Texas Secretary of State’s Statement of Service. Pursuant 8 Del. C.
        § 383, “any foreign corporation which shall transact business in this State without having
        qualified to do business shall be deemed to have thereby appointed and constituted the
        Secretary of State its agent for the acceptance of legal process.” This Court has ruled
        properly ruled that Saudi Aramco is a successor to Arabian American Oil Company.
        Pursuant 8 Del. C. § 252, if the successor corporation is a foreign corporation, it shall agree
        that it shall irrevocably appoint the Secretary of State as its agent to accept service of
        process in any such suit or other proceedings. As evidenced in Exhibit B service was
        properly effectuated on Saudi Aramco as a as a successor corporation.




          DECLARATION OF SERVICE OF PETITIONERS/AWARD CREDITORS’ SECOND AMENDED PETITION FOR
                               ENFORCEMENT OF FOREIGN ARBITRAL AWARD
                                         CASE NO. 4:18-cv-1807-GSH
                                                Page 2 of 6
      Case 4:18-cv-01807 Document 110 Filed on 03/11/20 in TXSD Page 6 of 10




               IV. SERVICE UPON SAUDI ARAMCO’S U.S. AGENT OF SERVICE

4.1     Service Upon Saudi Aramco’s Acknowledged Agent. Attached hereto as Exhibit 3 and
        incorporated herein by reference is a true and correct copy of the affidavit of service of
        Petitioners/Award Creditors’ Second Amended Petition for Enforcement of Foreign
        Arbitral Award upon Saudi Aramco’s wholly owned subsidiary, Aramco Services
        Company (“ASC”). Service was made upon ASC’s resident agent both in Texas and the
        State of Delaware. As evidenced in the affidavit of service, the Texas resident agent
        expressly confirmed CT Corporation was authorized to accept service upon Saudi
        Aramco. The affidavit states the following:

                       I delivered the above-mentioned documents to Antoinette
                       Williams who represented that they were authorized to
                       accept service on behalf of Saudi Arabian Oil Company
                       (Saudi Aramco) c/o CT corporation trust company on
                       December 13, 2019 at 12:20 pm at 1999 Bryan St Ste 900,
                       Dallas, Tx 75201.

4.2     Service Upon Saudi Aramco’s Registered Foreign Agent. On November 14, 2016,
        Aramco Affiliated Services Company (“AASC”) registered with the U.S. Department of
        Justice as the foreign agent for Saudi Aramco pursuant to the Foreign Agents Registration
        Act of 1938. Attached hereto as Exhibit 4 and incorporated herein by reference is AASC’s
        Registration Statement along with the affidavit of services of Petitioners/Award Creditors’
        Second Amended Petition for Enforcement of Foreign Arbitral Award upon AASC’s Texas
        and Delaware resident agents.

                  V. SERVICE UPON SAUDI ARAMCO’S U.S. SUBSDIARIES

5.1     Service Upon Saudi Aramco’s Wholly Owned U.S. Subsidiary. The U.S. Supreme Court
        holding in Volkswagen Aktiengesellschaft v. Schlunk, 486 US 694 (1988), held that service
        on a foreign corporation's domestic subsidiary was sufficient to confer jurisdiction over the
        foreign defendant not subject to the Hague Convention. As previously stated, Saudi Arabia
        is not a member to the Hague Convention. Attached hereto as Exhibits 3 and 4 are the
        affidavit of services upon subsidiaries ASC and AASC. Additionally, we have attached
        hereto as Exhibit E attempted service upon Motiva Enterprises, LLC.

5.2     Based on the foregoing, Petitioners have complied with Volkswagen Aktiengesellschaft v.
        Schlunk, 486 US 694 (1988). Pursuant to Texas’ Civil Practice and Remedies Code, Sec.
        17.043, in an action arising from a nonresident's business in this state, process may be
        served on the person in charge, at the time of service, of any business in which the
        nonresident is engaged in this state if the nonresident is not required by statute to designate
        or maintain a resident agent for service of process. Saudi Aramco is not required by statute
        to designate or maintain a resident agent for service of process. Service was made upon the
        person in charge of service; thus, service was properly effectuated.




          DECLARATION OF SERVICE OF PETITIONERS/AWARD CREDITORS’ SECOND AMENDED PETITION FOR
                               ENFORCEMENT OF FOREIGN ARBITRAL AWARD
                                         CASE NO. 4:18-cv-1807-GSH
                                                Page 3 of 6
              Case 4:18-cv-01807 Document 110 Filed on 03/11/20 in TXSD Page 7 of 10




       VI.     SERVICE UPON SAUDI ARAMCO AND ACKNOWLEDGED RECEIPT OF SERVICE

        6.1     Service Upon Saudi Aramco via Federal Express. Attached hereto as Exhibit 5 and
                incorporated herein by reference is proof of service of Petitioners/Award Creditors’ Second
                Amended Petition for Enforcement of Foreign Arbitral Award upon Saudi Aramco at its
                location in Dharan, Saudi Arabia. I declare that on December 12, 2019 Petitioners’ counsel
                of record sent, via Federal Express, Petitioners/Award Creditors’ Second Amended
                Petition for Enforcement of Foreign Arbitral Award to Saudi Aramco. Delivery was
                acknowledged and accepted on December 17, 2020.

VII.   SERVICE UPON SAUDI ARAMCO CORPORATE EXECUTIVES & CORPORATE LEGAL COUNSEL

        7.1     Service Upon Saudi Aramco Chief Executive Office & General Counsel. Attached hereto
                as Exhibit 6 and incorporated herein by reference is a true and correct copy of Saudi
                Aramco’s Prospectus for its Initial Public Offering (“IPO”). Within this prospectus, it
                provides the email of its Chief Executive Officer, Mr. Amin H. Nasser, and its Corporate
                Legal Counsel, Mr. Nabeel A. Al. Mansour.

        7.2     On December 15, 2019, undersigned counsel sent an email to Saudi Aramco’s Chief
                Executive Officer at president.ceo@aramco.com and Saudi Aramco’s Corporate Legal
                Counsel at ipo@aramco.com. Delivery confirmation and an acknowledgment of receipt
                was received on the same day of service. Attached hereto as Exhibit 7 and incorporated
                herein by reference verification of email delivery and acknowledgement of receipt.

                VIII. SERVICE UPON SAUDI ARAMCO’S U.S. & FOREIGN ATTORNEYS

        8.1     Service Upon White & Case, LLP. Attached hereto as Exhibit 8 and incorporated herein
                by reference is a December 11, 2019 press release published online by White & Case, LLP.
                In this press release it publicly discloses that it represents Saudi Aramco and identified
                numerous White & Case attorneys representing Saudi Aramco. The press release also
                disclosed Saudi Aramco’s local counsel in Riyadh, Saudi Arabia.

        8.2     Despite publicly representing its legal representation of Saudi Aramco, White & Case
                attempted to evade service of Petitioners/Award Creditors Petition to Enforce a Foreign
                Arbitral Award. Attached hereto as Exhibit 9 is an affidavit of service that evidences that
                White & Case on numerous occasions prohibited a New York legal messenger service from
                serving Petitioners petition to enforce a foreign arbitral award. Accordingly, Petitioners’
                undersigned counsel served White & Case’s resident agent, JoAnn Disanti, it’s attorneys
                via email, as well as Saudi Aramco’s local legal counsel the Law Office of Megren M. Al-
                Shaalan. Attached hereto as Exhibit 10 and incorporated herein by reference is electronic
                verification of email service and confirmation of receipt White & Case and the Law Office
                of Megren M. Al-Shaalan. It should also be noted that on December 18, 2019 undersigned
                counsel requested White & Case to waive service; they have refused to do so.




                 DECLARATION OF SERVICE OF PETITIONERS/AWARD CREDITORS’ SECOND AMENDED PETITION FOR
                                      ENFORCEMENT OF FOREIGN ARBITRAL AWARD
                                                CASE NO. 4:18-cv-1807-GSH
                                                       Page 4 of 6
      Case 4:18-cv-01807 Document 110 Filed on 03/11/20 in TXSD Page 8 of 10




8.3     Service Upon King & Spalding, LLP. In the present case, the law firm of King & Spalding,
        LLP has previously appeared on behalf Saudi Aramco’s subsidiary, Aramco Services
        Company (“ASC”). Additionally, King & Spalding, LLP has registered with the U.S.
        Department of Justice as the foreign agent for the Kingdom of Saudi Arabia’s Ministry of
        Energy. The Ministry overseas and developing and implementing policies concerning
        petroleum and related products. Attached hereto as Exhibit 11 and incorporated herein by
        reference is King & Spalding, LLP’s registration as foreign agents for the Kingdom of
        Saudi Arabia’s Ministry of Energy, Industry and Mineral Resources.

        Attached hereto as Exhibit 12 is the affidavit of service upon King & Spalding’s counsel
        as well as undersigned counsel’s electronic email service upon King & Spalding attorneys
        that have either represented.

8.4     Service Upon Attorney Bobby J. Horton. Attorney Bobby J. Horton is in-house legal
        counsel for Aramco Services Company (ASC”) in Houston, Texas. Based on his November
        14, 2016 Registration Statement he has filed with the U.S. Department of Justice, via a
        Power of Attorney, he executed said Registration Statement as “Attorney-in Fact”. See,
        Exhibit 4. To the extent that Mr. Horton was Attorney-in-Fact for Saudi Aramco,
        undersigned counsel served Mr. Horton via email with Petitioners/Award Creditors’
        Second Amended Petition for Enforcement of Foreign Arbitral Award. Attached hereto as
        Exhibit 13 and incorporated herein by reference is email service to attorney Bobby Horton
        and supporting documentation regarding acknowledgment of service.

8.5     U.S. District Courts, specifically in Texas, accept electronic service. See, RPost Holdings,
        Inc. v. Kagan, No. 2:11-cv-238-JRG, 2012 WL 194388, at *2 (E.D. Tex. January 23, 2012)
        [confirming that the plaintiff “will be provided notice of this suit via email service, and that
        such method will comport with constitutional notions of due process”]; see also, Huawei
        Technologies USA, Inc. v. Oliveira, 4:19-cv-00229 (E.D. Tex. July 19, 2019). Saudi
        Aramco’s counsel of record publicly asserted its legal representation of Saudi Aramco on
        the worldwide web. They attempted to evade service by not allowing a legal messenger
        access to drop off Petitioners/Award Creditors’ Second Amended Petition for Enforcement
        of Foreign Arbitral Award. Contrary to New York Convention Treaty, an international
        treaty that the U.S. and Saudi Arabia are both a member and signatory to, counsel of record
        for Saudi Aramco is demanding that this Court undermine the express language of the FAA
        and mandate that service be effectuated in accord with Foreign Sovereign Immunities Act.
        Unless this Court violates the separation of power, neither the FAA or the New York
        Convention Treaty permits the assertion of sovereign immunity as a means of service or a
        defense.

                         IX.     SERVICE UPON FOREIGN MINISTRIES

9.1     Service Upon Saudi Ministry of Foreign Affairs. On December 12, 2019, Petitioners’
        counsel of record attempted to serve Petitioners/Award Creditors’ Second Amended
        Petition for Enforcement of Foreign Arbitral Award via Federal Express upon the Saudi
        Ministry of Foreign Affairs; service was rejected. Attached hereto as Exhibit 14 and
        incorporated herein by reference is a true and correct copy of the Federal Express database
        evidencing that the Saudi Ministry of Foreign Affairs rejected service.

          DECLARATION OF SERVICE OF PETITIONERS/AWARD CREDITORS’ SECOND AMENDED PETITION FOR
                               ENFORCEMENT OF FOREIGN ARBITRAL AWARD
                                         CASE NO. 4:18-cv-1807-GSH
                                                Page 5 of 6
       Case 4:18-cv-01807 Document 110 Filed on 03/11/20 in TXSD Page 9 of 10




9.2      Service Upon the Ministry of Energy, Industry and Mineral Resources. On December
         12, 2019, Petitioners’ counsel of record attempted to serve Petitioners/Award Creditors’
         Second Amended Petition for Enforcement of Foreign Arbitral Award via Federal Express
         upon the Saudi Ministry of Foreign Affairs; service was rejected. Attached hereto as
         Exhibit 15 and incorporated herein by reference is a true and correct copy of the Federal
         Express database evidencing that the Saudi Ministry of Energy, Industry and Mineral
         Resources rejected service.

                                        X.     CONCLUSION

10.3     U.S. District Courts Acceptance of Electronic Service. Although service of a Petition to
         Confirm and Enforce a Foreign Arbitral Award is treated as a motion and not a civil
         complaint, the means of service provided by Petitioners in this summary proceeding
         comports with 9 U.S.C. §6, FED. RUL. PROC. 5 (b) 1, FED. RUL. PROC. 4 (f)(2)(C)(ii) and
         4(f)(3). As Saudi Aramco has acknowledged receipt of service, legal counsel has appeared
         on its behalf and has specifically noted a motion, the means of service effectuated upon
         Saudi Aramco is “reasonably calculated” to give it notice and an opportunity to be heard.
         See, Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306 (1950).


                Respectfully submitted this 11th day of March 2020.



                                      CHUNG, MALHAS & MANTEL PLLC:

                                      /s/ Edward C. Chung                 .
                                      Edward C. Chung, WSBA # 34292 (L.R. 11 - Attorney in Charge)
                                      Dr. Dima N. Malhas, Esq.
                                      Mark Mantel, Esq.
                                      1037 NE 65th Street, Suite# 80171
                                      Seattle, Washington 98115

                                      Phone: (206) 264-8999
                                      Facsimile: (206) 264-9098

                                      Pro Hoc Vice Counsel for Petitioners




          DECLARATION OF SERVICE OF PETITIONERS/AWARD CREDITORS’ SECOND AMENDED PETITION FOR
                               ENFORCEMENT OF FOREIGN ARBITRAL AWARD
                                         CASE NO. 4:18-cv-1807-GSH
                                                Page 6 of 6
   Case 4:18-cv-01807 Document 110 Filed on 03/11/20 in TXSD Page 10 of 10




                                  IV. CERTIFICATE SERVICE

The undersigned hereby declares that on this 11th day of March, 2020, a true and correct copy of
the foregoing document was filed with the United States District Court Clerk’s Office for the
Southern District of Texas (Houston) using the Court’s online ECF system which provides
electronic service upon Respondent’s counsel of records.




                                                /s/ Edward C. Chung
                                                Edward C. Chung, WSBA# 34292 – Attorney in Charge
                                                CHUNG, MALHAS & MANTEL PLLC
                                                1037 NE 65th Street, Suite# 80171
                                                Seattle, Washington 98115

                                                Phone: (206) 264-8999
                                                Facsimile: (206) 264-9098




         DECLARATION OF SERVICE OF PETITIONERS/AWARD CREDITORS’ SECOND AMENDED PETITION FOR
                              ENFORCEMENT OF FOREIGN ARBITRAL AWARD
                                        CASE NO. 4:18-cv-1807-GSH
                                               Page 7 of 6
